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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.: 24-cv-03368

Rocket Mortgage, LLC,

       Petitioner,

v.

United States Department of Housing and Urban Development,

       Respondent.


                 JOINT CASE MANAGEMENT PLAN FOR PETITIONS
                        FOR REVIEW OF AGENCY ACTION


1.     APPEARANCES OF COUNSEL

For Plaintiff:       Jeffrey B. Morganroth, Brooks R. Brown, Andrew Kim, Keith
                     Levenberg, Angelica Rankins

For Defendant: Simon G. Jerome

2.     STATEMENT OF LEGAL BASIS FOR SUBJECT MATTER JURISDICTION

       Plaintiff's Position: This action arises under the Administrative Procedure Act
       (APA), 5 U.S.C. § 551 et seq., and the Fair Housing Act, 42 U.S.C. § 3605. This
       Court therefore has jurisdiction pursuant to 28 U.S.C. § 1331.

       Defendant's Position: For the reasons stated in Defendant's motion to dismiss,
       this Court lacks subject-matter jurisdiction.

3.     DATES OF FILING OF RELEVANT PLEADINGS

       A.   Date Petition for Review Was Filed: Plaintiff's complaint was filed on
       December 4, 2024.


       B.      Date Petition for Review Was Served on U.S. Attorney's Office:
       Plaintiff served the complaint on the U.S. Attorney's Office for the District of
       Colorado on December 10, 2024. The Associate General Counsel for Litigation
       for the U.S. Department of Housing and Urban Development was served with the
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      Complaint on December 13, 2024. The Attorney General of the United States
      was served on December 16, 2024.

      C.     Date Answer or Other Response Was Filed: March 4, 2025

4.   STATEMENT(S) REGARDING WHETHER THIS CASE RAISES UNUSUAL
CLAIMS OR DEFENSES

Not applicable.

5.    OTHER MATTERS

      A related case, United States of America v. Rocket Mortgage, LLC, et al., Case
      No. 1:24-cv-02915, is currently pending in this Court before the Honorable
      Gordon P. Gallagher, United States District Judge, and the Honorable Timothy
      P. O'Hara, United States Magistrate Judge.

6.    PROPOSED BRIEFING SCHEDULE

      Defendant's Position: Defendant contends that, for the reasons stated in its
      motion to dismiss, this suit is not properly brought under the Administrative
      Procedure Act (APA). In particular, Plaintiff has not pleaded final agency action
      with respect either to Count II (which is explicitly brought under the APA) or
      Count I (which is not). Accordingly, no administrative record exists.

      In prior APA actions, Defendant has required between 60 and 150 days to
      produce an administrative record. The breadth of that range makes estimating a
      sufficient time period for production difficult where, as here, the reasoning of any
      eventual decision by the Court finding a plausible allegation of final agency
      action would determine the size and complexity of the resulting administrative
      record.
      Furthermore, an administrative record is not required to adjudicate the
      arguments raised in Defendant's motion to dismiss. Defendant therefore
      respectfully submits that the Court should defer ordering a production and
      briefing schedule until after its disposition of the motion to dismiss, at which time
      the parties should be permitted to confer and propose a briefing schedule.

      Plaintiff's Position: Plaintiff disagrees with Defendant's position regarding the
      merits of its claims, and about Defendant's obligation to produce the
      administrative record. For the reasons stated in its forthcoming opposition to
      Defendant's motion to dismiss, Plaintiff has properly alleged an APA claim, and it
      has alleged a final agency action that is subject to judicial review. Accordingly,
      Plaintiff disputes Defendant's suggestion that "no administrative record" exists.



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        Plaintiff respectfully submits that it is appropriate for this Court to order
        Defendant to produce the administrative record.


        Notwithstanding this disagreement about the merits of Plaintiff's claims, Plaintiff
        does not oppose Defendant's request to defer the setting of a production and
        briefing schedule until after this Court rules on Defendant's motion to dismiss.

7.      STATEMENTS REGARDING ORAL ARGUMENT

        A.     Petitioner's Statement: Plaintiff respectfully requests oral argument on
        both Defendant's forthcoming motion to dismiss and on any motions for
        summary judgment filed by the parties. Defendant's motion to dismiss presents
        complex jurisdictional questions and questions of statutory
        interpretation. Oral argument would aid this Court's resolution of those questions.

        B.     Respondent's Statement: Defendant respectfully defers to the Court on
        the necessity of oral argument on the motion to dismiss and on any subsequent
        motions for judgment on the administrative record, and would be pleased to
        deliver oral argument if it would aid the Court in its decisions.

8.      CONSENT TO EXERCISE OF JURISDICTION BY MAGISTRATE JUDGE

        Indicate below the parties' consent choice.

        A.     ()    All parties have consented to the exercise of jurisdiction of a United
        States Magistrate Judge.

        B.    (X)    All parties have not consented to the exercise of jurisdiction of a
        United States Magistrate Judge.

9.      OTHER MATTERS

None.

10.     AMENDMENTS TO JOINT CASE MANAGEMENT PLAN

The parties agree that the Joint Case Management Plan may be altered or amended
only upon a showing of good cause.




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Dated March 21, 2025, at Denver, Colorado.
                                             BY THE COURT:




APPROVED:

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